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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


LAUREN ADELE OLIVER,

               Plaintiff,

v.                                                          Case No. 1:20-CV-00237-KK-SCY


MEOW WOLF, INC., a Delaware
Corporation; VINCE KADLUBEK,
An individual and officer; and
DOES 1-50,

               Defendants.

                     ORDER EXTENDING DISCOVERY DEADLINES

       THIS MATTER having come before the Court upon the Parties’ Motion to Extend

Discovery Deadlines (Doc. 85), and the Court having considered the Motion and being otherwise

fully advised in the premises, and for good cause shown, FINDS that it is well taken.

       IT IS HEREBY ORDERED that (1) termination date for written discovery shall be

extended to May 7, 2021; (2) Defendants’ Rule 26(a)(2) expert disclosures shall be due April 16,

2021; and (3) Expert depositions may be taken up to and including May 30, 2021.



Dated: March 25, 2021


                                                    Honorable Steven C. Yarbrough
                                                    United States Magistrate Judge
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                                                Respectfully submitted,

                                                BARDACKE ALLISON LLP

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Approved by:

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Counsel for Plaintiff Lauren Adele Oliver




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